Case 12-15822-mdc   Doc 84   Filed 11/06/19 Entered 11/06/19 15:45:13   Desc Main
                             Document     Page 1 of 5
Case 12-15822-mdc   Doc 84   Filed 11/06/19 Entered 11/06/19 15:45:13   Desc Main
                             Document     Page 2 of 5
Case 12-15822-mdc   Doc 84   Filed 11/06/19 Entered 11/06/19 15:45:13   Desc Main
                             Document     Page 3 of 5
Case 12-15822-mdc   Doc 84   Filed 11/06/19 Entered 11/06/19 15:45:13   Desc Main
                             Document     Page 4 of 5
Case 12-15822-mdc   Doc 84   Filed 11/06/19 Entered 11/06/19 15:45:13   Desc Main
                             Document     Page 5 of 5
